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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

JOSEPH GRIMANDO,

               Plaintiff,

       vs.                                           No. 21-CV-00108 KWR/KK

UNITED STATES OF AMERICA,

               Defendant.

                            NOTICE OF SUBSTITUTION OF COUNSEL

       Please take notice that Ruth F. Keegan, Assistant United States Attorney, will substitute as

counsel for the Defendant in place and instead of Kimberly Bell, Assistant United States Attorney,

in the above-captioned case.


                                                     Respectfully Submitted,

                                                     ALEXANDER M. M. UBALLEZ
                                                     United States Attorney

                                                     /s/ Ruth F. Keegan 8/5/22
                                                     RUTH F. KEEGAN
                                                     Assistant United States Attorney
                                                     District of New Mexico
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                                                     Albuquerque, New Mexico 87103
                                                     505-346-7274
                                                     Ruth.F.Deegan@usdoj.gov

                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2022, I filed the foregoing pleading electronically through
the CM/ECF system which caused all parties or counsel of record to be served by electronic means
as more fully reflected on the Notice of Electronic Filing.

                                                     /s/ Ruth F. Keegan
                                                     RUTH F. KEEGAN
                                                     Assistant United States Attorney
